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B 2100A (Form 2100A) (12/15)



                         UNITED STATES BANKRUPTCY COURT
                                                  DistrictDistrict
                                            __________     of NorthOfDakota
                                                                      __________

In re ________________________________,
      Vanity Shop of Grand Forks, Inc.                                                            Case No. ________________
                                                                                                            17-30112




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



  B.E. Capital Management Fund LP
______________________________________                                       Anfield Apparel Group, Inc.
                                                                            ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known):     282
should be sent:                                                             Amount of Claim:      $249,841.09
  228 Park Ave S #63787                                                     Date Claim Filed:      06/26/2017
  New York, New York 10003-1502

         646-678-2922
Phone: ______________________________                                       Phone: 818-774-3545
Last Four Digits of Acct #: ______________                                  Last Four Digits of Acct. #: __________

Name and Address where transferee payments
should be sent (if different from above):



Phone:
Last Four Digits of Acct #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:__________________________________                                       Date:____________________________
                                                                                  08/17/2017
       Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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